Case 2:10-md-02179-CJB-DPC Document 1925-8 Filed 04/12/11 Page 1 of 25

DET NORSKE VERITAS

United States Department of the Interior, Bureau of Ocean Energy
Management, Regulation, and Enforcement

Forensic Examination of Deepwater Horizon Blowout Preventer

Volume I Final Report MANAGING RISK

6.2.3.2. Examination of the Drill Pipe

Figure 40 to Figure 54 show the individual drill pipe segments removed from the BOP,
LMRP, and Riser. Figure 39 and Figure 40 show drill pipe segment 148 that was
recovered from between the CSR and the Lower VBR. The top end exhibited a sheared
surface representative of a CSR cut. The bottom end had significant erosion. The erosion
is the most likely explanation for the separation of this segment from the rest of the drill
pipe downhole. Significant erosion was also observed at areas where the segments of the
Upper and Middle VBRs contact the drill pipe.

(a) Top End (148-A

(c) Erosion at Upper VBR (d) Erosion at Middle VBR

Figure 39 Photograph of Drill Pipe 148

EPOS0842
20 Mareb 2013 81
Case 2:10-md-02179-CJB-DPC Document 1925-8 Filed 04/12/11 Page 2 of 25

DET NORSKE VERITAS

United States Department of the Interior, Bureau of Ocean Energy
Management, Regulation, and Enforcement

Forensic Examination of Deepwater Horizon Blowout Preventer
Volume I Fina] Report

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b) Bottom end (148-X)

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EPO30842
20 March 201) 82
Case 2:10-md-02179-CJB-DPC Document 1925-8 Filed 04/12/11 Page 3 of 25

DéET NORSKE VERITAS

United States Department of the Interior, Bureau of Ocean Energy
Management, Regulation, and Enforcement

Forensic Examination of Deepwater Horizon Blowout Preventer

Volume I Final Report MANAGING RISK

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(d) Erosion at the Middle VBR
Figure 40 Three-Dimensional Laser Scan of Drill Pipe Segment 148

Figure 41 and Figure 42 show drill pipe segment 94 that was recovered from between the
BSR and the CSR. The bottom end exhibits a sheared surface representative of a CSR cut
and the top end has a surface that appears to be sheared (see a and b). One of the sides of
the downstream end has a portion missing (see Figure 41 a [left side] and b [right side]).

(a) Drill Pipe Se

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(b) Top end (94-B)

EPOSOS42
20 March 2011 83
Case 2:10-md-02179-CJB-DPC Document 1925-8 Filed 04/12/11 Page 4 of 25

DET NORSKE VERITAS

United States Department of the Interior, Bureau of Ocean Energy
Management, Regulation, and Enforcement

Forensic Examination of Deepwater Horizon Blowout Preventer
Volume I Final Report

(b) Bottom end (94-A)
Figure 42 Three-Dimensional Laser Scan of Drill Pipe Segment 94

Figure 43 and Figure 44 show drill pipe segment 83 that was recovered from the wellbore
of the Flex Joint and was resting on the UA. The bottom end is significantly deformed
and approximately 1 inch of the end of the pipe is curled into the inside of the drill pipe
with a flattened appearance on the end. The top end was cut (sawed) through for
approximately 80 percent of the circumference and fractured the remainder.

EPU30842
20 March 2011 84
Case 2:10-md-02179-CJB-DPC Document 1925-8 Filed 04/12/11 Page 5 of 25

DET NORSKE VERITAS

United States Department of the Interior, Bureau of Ocean Energy
Management, Regulation, and Enforcement

Forensic Examination of Deepwater Honzon Blowout Preventer

Volume I Final Report MANAGING RISK

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a} Drill Pipe Segment 83

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(b) Top end 3-0)

(c) Bottom end (83-B)

Figure 43 Photograph of Drill Pipe Segment 83

(a) Top end (83-C)

EP030842
20 March 2011 &5
Case 2:10-md-02179-CJB-DPC Document 1925-8 Filed 04/12/11 Page 6 of 25

DET NORSKE VERITAS.

United States Department of the Interior, Bureau of Ocean Energy
Management, Regulation, and Enforcement

Forensic Examination of Deepwater Horizon Blowout Preventer
Volume | Final Report

oe”
(b) Bottom end (83-B)

Figure 44 Three-Dimensional Laser Scan of Drill Pipe Segment 83

Figure 45 and Figure 46 show drill pipe segment 84 that was recovered from the top of
the Upper Annular. Drill Pipe 84 had a saw cut on the bottom end (approximately 80% of
circumference with the remaining exhibiting a fractured surface) and a shear cut on the
top end.

(b) Bottom end (84-C)

EPpgsds42
20 March 20171 86
Case 2:10-md-02179-CJB-DPC Document 1925-8 Filed 04/12/11 Page 7 of 25

DeT NORSKE VERITAS

United States Department of the Interior, Bureau of Ocean Energy
Management, Regulation, and Enforcement

Forensic Examination of Deepwater Horizon Blowout Preventer

Volume I Final Report MANAGING. RISK

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Figure 45 Photograph of Drill Pipe Segment 34
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(b) Bottom end (84-C)
Figure 46 Three-Dimensional Laser Scan of Drill Pipe Segment 84

Figure 47 and Figure 48 show drill pipe segment 1-B-2 that was recovered from the
Riser. Drill pipe segment 1-B-2 was recovered from below the kink in the Riser. The top
end became separated from drill pipe segment 1-B-1 during removal from the Riser. The
bottom end was an intervention shear cut.

EPO30842
20 March 2011 87

Case 2:10-md-02179-CJB-DPC Document 1925-8 Filed 04/12/11 Page 8 of 25

DET NORSKE VERITAS

United States Department of the Interior, Bureau of Ocean Energy
Management, Regulation, and Enforcement

Forensic Examination of Deepwater Horizon Blowout Preventer

Volume I Final Report MANAGING RISE

(a) Drill Pipe Segment 1-B-2 "(b) Bottom end (1-B-2-D)
Figure 47 Photograph of Drill Pipe Segment 1-B-2

(a) Top end (1-B-2-D2)

EPQ30842
20 March 2011 88
Case 2:10-md-02179-CJB-DPC Document 1925-8 Filed 04/12/11 Page 9 of 25

DET NORSKE VERITAS

United States Department of the Interior, Bureau of Ocean Energy
Management, Regulation, and Enforcement

Forensic Examination of Deepwater Horizon Blowout Preventer
Volume I Final Report

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(b) Bottom end (1-B-2-D)
Figure 48 Three-Dimensional Laser Scan of Drill Pipe Segment 1-B-2

Figure 49 and Figure 50 show drill pipe segment 1-B-1 that was recovered from the
Riser. Drill pipe segment 1-B-1 was above the kink in the Riser and became separated
from drill pipe segment 1-B-2 during removal. The bottom end of drill pipe segment 1-B-
1 became separated from drill pipe segment 1-B-2 at the kink in the Riser. The top end
was severely eroded with a fracture surface of approximately 30% of the circumference.
The remainder of the circumference was too eroded to see the fracture surface.

EPQ30842
29 March 2011 89
Case 2:10-md-02179-CJB-DPC Document 1925-8 Filed 04/12/11 Page 10 of 25

DET NORSKE VERITAS

United States Department of the Interior, Bureau of Ocean Energy
Management, Regulation, and Enforcement

Forensic Examination of Deepwater Horizon Blowout Preventer
Volume I Final Report

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ipe Segments 1-B-
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(b) Bottom End (1-B-1-D2) (c) Top End (J-B-1-E)
Figure 49 Photograph of Drill Pipe Segment 1-B-1

EPO30842
20 March 201! 90
Case 2:10-md-02179-CJB-DPC Document 1925-8 Filed 04/12/11 Page 11 of 25

DET NORSKE VERITAS

United States Department of the Interior, Bureau of Ocean Energy
Management, Regulation, and Enforcement

Forensic Examination of Deepwater Horizon Blowout Preventer

Volume I Final Report MANAGING RISK

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(b) Bottom end (1-B-1-D2)
Figure 50 Three-Dimensional Laser Scan of Drill Pipe Segment 1-B-1

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Figure 51 and Figure 52 show drill pipe segment 39 that was recovered from within the
LMRP with a small portion above the UA. This segment of drill pipe had a curvature in
its length. The top end was a shear cut and the bottom end was significantly deformed.
The bottom end had approximately 1 inch of the end of the pipe curled into the inside of
the drill pipe.

EPQ30842
20 March 2073 91

Case 2:10-md-02179-CJB-DPC Document 1925-8 Filed 04/12/11 Page 12 of 25

DET NORSKE VERITAS

United States Department of the Interior, Bureau of Ocean Energy
Management, Regulation, and Enforcement

Forensic Examination of Deepwater Horizon Blowout Preventer

Volume I Final Report MANAGING RISK

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(c) Bottom End (39-F)

(a) Drill Pipe Segment 39 = (b) Top End (39-E)
Figure 51 Photograph of Drill Pipe Segment 39

(a) Top End (39-F)

EPO3G842
29 March 2011 92
Case 2:10-md-02179-CJB-DPC Document 1925-8 Filed 04/12/11 Page 13 of 25

Det NORSKE VERITAS

United States Department of the Interior, Bureau of Ocean Energy
Management, Regulation, and Enforcement

Forensic Examination of Deepwater Horizon Blowout Preventer

Volume I Final Report MANAGING RISK

aes
(b) Bottom end (39-E)}
Figure 52 Three-Dimensional Laser Scan of Drill Pipe Segment 39

Figure 53 and Figure 54 show drill pipe segment 1-A-1 recovered from within the Riser.
The bottom end of drill pipe segment I-A-1 was an intervention shear cut and the top end
was a shear cut that was made at the time of retrieval of this portion of the Riser from the
sea floor. Drill Pipe 1-A-1 includes a tool joint towards the top end.

(a) Drill Pipe Segment 1-A-1

EPOS30842
2) March 2011 93

Case 2:10-md-02179-CJB-DPC Document 1925-8 Filed 04/12/11 Page 14 of 25

DET NORSKE VERITAS

United States Department of the Interior, Bureau of Ocean Energy
Management, Regulation, and Enforcement

Forensic Examination of Deepwater Horizon Blowout Preventer
Volume I Final Report

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(b) Tool joint (c) Bottom end (1-A-1-F)
Figure 53 Photograph of Drill Pipe Segment 1-A-1

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Figur 54 Three-Dimensional Laser Scan of Drill Pipe Segment 1-A-1-F

6.2.4 Matching Drill Pipe Segments

The ends of the recovered drill pipe segments were labeled U/S for bottom end and D/S
for top end. Matching of drill pipe segment ends was initially performed by comparing
locations recovered, surface end features and dimensions of pipe segments. The final
analysis (presented below) provided the drill pipe end matching given in Table 18.
Figure 55 (a) shows the drill pipe segments positioned in the BOP Stack based on this
matching sequence.

Table 18 Detail for the Matching of the Drill Pipe Segment Ends

Top End Bottom End Method of Separation
39-F 1-A-1-F Intervention Shear Cut of Riser above BOP
1-B-1-E 39-E Separated at top of Upper Annular (tensile failure)
Separated at Kink in Riser during removal process at
1-B-2-D2_ | 1-B-1-E2 Michoud Facility
84-D 1-B-2-D Intervention Shear Cut of Riser above BOP
§3-C 84-C Intervention Saw Cut of Riser above BOP
94-B 83-B BSR Operation
148-A 94-A CSR Operation

ERHOS842
20 Mareh 2011 94
Case 2:10-md-02179-CJB-DPC Document 1925-8 Filed 04/12/11 Page 15 of 25

Det NORSKE VERITAS

United States Department of the Interior, Bureau of Ocean Energy
Management, Regulation, and Enforcement

Forensic Examination of Deepwater Honzon Blowout Preventer

Volume I Final Report MANAGING RISK

Flex Joint -------------------

Upper Annular Preventer

Lower Annular Preventer

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17.36 ft

Blind Shear Rams ----->-
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Casing Shear Rams 7
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Upper VBR. ----------- ++ t

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Figure 55 Schematic D

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... 9.13 ft

- 5.54 ft

0 ft Cumulanve Height

iagram of ‘Sequence of Drill Pipe Segment Movement

[Note: left to right (a) drill pipe prior to incident, (b) drill pipe following break at point E
and point B, and (c) drill pipe following sinking of rig and kink in Riser above BOP

stack. ]

EPO30842
20 March 2011

95
Case 2:10-md-02179-CJB-DPC Document 1925-8 Filed 04/12/11 Page 16 of 25

DET NORSKE VERITAS

United States Department of the Interior, Bureau of Ocean Energy
Management, Regulation, and Enforcement

Forensic Examination of Deepwater Horizon Blowout Preventer

Volume I Final Report MANAGING RISK

6.2.4.1 Matching 148-A to 94-A

The cut at ‘A’ was postulated to be the CSR cut and the ends 148-A and 94-A were
representative of such a cut. Also, 148-A matched closely to 94-A (see Figure 56). Figure
56 also shows the pipe aligned with the CSRs prior to cutting. Figure 57 shows the
positions of the drill pipe segment with respect to the CSRs following cutting. The
erosion pattern on the bottom surface of the upper CSR block matched the shape of 148-
A (Figure 37). Based on this analysis and the fact that the drill pipe segments were
recovered with these ends facing toward the CSR, there is a high level of confidence that
the cut at ‘A’ was due to the CSR.

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Figure 56 Three-Dimensional Laser Scan Comparing 148-A and 94-A

Figure 57
Cutting

EPO30842
20 March 2011 96
Case 2:10-md-02179-CJB-DPC Document 1925-8 Filed 04/12/11 Page 17 of 25

DeT NORSKE VERITAS

United States Department of the Interior, Bureau of Ocean Energy
Management, Regulation, and Enforcement

Forensic Examination of Deepwater Horizon Blowout Preventer

Volume | Final Report MANAGING RISK

6.2.4.2 Matching 94-B to 83-B

The cut at ‘B’ is postulated to be the BSR cut and 94-B and 83-B are the matching ends
of this cut. 83-B and 94-B are shown in Figure 58 and Figure 59, respectively. 83-B
(Figure 58 (b)) was deformed, making matching of surface features to 94-B impossible.
Figure 58 (c), (d), and (e)) shows the ends of the pipe curled inwards. The forces required
to cause the deformation were probably responsible for the splitting and opening of the
side wall of the pipe (Figure 58 (a), (c), and (d)). Erosion was also seen at the edges of
the side wall of the pipe (Figure 58 (d)). Prominent at the end of the pipe was a missing
“comer” of material (best seen in Figure 58 (a)) adjacent to the “flat” marked with the
number 83.

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Figure 58 Photographs of 83-B

EPOSS42
20 March 2011 97

Case 2:10-md-02179-CJB-DPC Document 1925-8 Filed 04/12/11 Page 18 of 25

DET NORSKE VERITAS

United States Department of the Interior, Bureau of Ocean Energy
Management, Regulation, and Enforcement

Forensic Examination of Deepwater Horizon Blowout Preventer

Votume I Final Report MANAGING RISK.

(e) (f)
Figure 59 Photographs of 94-B

Figure 59 shows several views of 94-B. There was a prominent “flat” pressed into 94-B
(Figure 59 (a), (b), and (c)). There was a missing corner of material as seen in Figure 59
(a), (b), (c), and (d). The erosion seen in the photographs resulted in a through-wall hole
(Figure 59 (e)). The overall thinning of the drill pipe wall is seen in Figure 59 (f). In
addition, 94-B may be missing a short (1.5 to 2-inch) length which may have been folded
over during the BSR cut.

EPO30842
20 Mareh 2613 98
Case 2:10-md-02179-CJB-DPC Document 1925-8 Filed 04/12/11 Page 19 of 25

DET NORSKE VERITAS

United States Department of the Interior, Bureau of Ocean Energy
Management, Regulation, and Enforcement

Forensic Examination of Deepwater Horizon Blowout Preventer

Volume I Final Report MANAGING RISK

The common features of 83-B and 94-B are the flat areas that were pressed into their
surfaces and the corners missing on one side of each. With 83-B and 94-B facing each
other and the flats oriented to the same side, the missing corners match.

Figure 60 shows the laser scans for 83-B and 94-B. Figure 61 shows laser scans of 83-B
and 94-B matched against the upper BSR block. The flats pressed into 83-B and 94-B
matched against the kill side front face of the upper BSR block. The common features
noted above for 83-B and 94-B and the matching to the upper BSR block provide a high
level of confidence that 83-B and 94-B were the cut ends from the BSR.

ERKGS842
20 March 2011 99
Case 2:10-md-02179-CJB-DPC Document 1925-8 Filed 04/12/11 Page 20 of 25

DET NORSKE VERITAS

United States Department of the Interior, Bureau of Ocean Energy
Management, Regulation, and Enforcement

Forensic Examination of Deepwater Horizon Blowout Preventer
Volume [ Final Report

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Figure 61 Laser Scans of 94-B and 83-B Matched Against the Upper BSR Block

6.2.4.3 Matching 83-C to 84-C

The cut at ‘C’ is postulated to be the intervention diamond blade saw cut of Riser above
the BOP Stack. 83-C and 84-C were the matching ends of this cut (see Figure 62). Based
on visual examination there is a high level of confidence that the cut at ‘C’ was due to the
intervention diamond saw cut.

EPO30842
20 March 2014 160

Case 2:10-md-02179-CJB-DPC Document 1925-8 Filed 04/12/11 Page 21 of 25

DET NORSKE VERITAS

United States Department of the Interior, Bureau of Ocean Energy
Management, Regulation, and Enforcement

Forensic Examination of Deepwater Horizon Blowout Preventer

Volume [ Final Report MANAGING RISK

Figure 62 Laser

6.2.4.4 Matching 84-D to 1-B-2-D

The cut at ‘D’ is postulated to be the intervention shear cut of Riser above the BOP Stack.
84-D and 1-B-2-D are the matching ends of this cut (see Figure 63). Based on this visual

examination there is a high level of confidence that the cut at ‘D’ was due to the
intervention shear cut.

EPOG30842
20 March 2011 101
Case 2:10-md-02179-CJB-DPC Document 1925-8 Filed 04/12/11 Page 22 of 25

DET NORSKE VERITAS

United States Department of the Interior, Bureau of Ocean Energy
Management, Regulation, and Enforcement

Forensic Examination of Deepwater Horizon Blowout Preventer

Volume I Fina] Report MANAGING RISK

6.2.4.5 Matching 1-B-2-D2 to 1-B-1-D2

The separation of drill pipe segment 1-B (resulting in 1-B-2 and 1-B-1) occurred at the
kink in the Riser during the removal of the drill pipe segment from the Riser at the
Michoud facility. Figure 64 shows the laser scans of these matching surfaces.

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Figure 64 Laser Scans of 1-B-2-D2 and 1-B-1-D2

6.2.4.6 Matching 1-B-1-E to 39-E

-The separation at ‘E’ is postulated to be a drill pipe tensile failure. 1-B-1-E and 39-E are
matching ends of this failure. This failure of the drill pipe is postulated to have occurred
in the top element of the UA (see location in Figure 55 (a)). 1-B-1-E and 39-E are shown
in Figure 65 and Figure 68, respectively. The end of 39-E was deformed and the end of 1-
B-1-E was eroded, making matching of surface features of the pipe ends difficult.

EPU30842
20 March 2011 102

Case 2:10-md-02179-CJB-DPC Document 1925-8 Filed 04/12/11 Page 23 of 25

DET NORSKE VERITAS

United States Department of the Interior, Bureau of Ocean Energy
Management, Regulation, and Enforcement

Forensic Examination of Deepwater Horizon Blowout Preventer

Volume I Final Report MANAGING RISK

(c) (d)
Figure 65 Photographs of 1-B-1-E

EPO30842
20 March 2011 103
Case 2:10-md-02179-CJB-DPC Document 1925-8 Filed 04/12/11 Page 24 of 25

DET NORSKE VERITAS

United States Department of the Interior, Bureau of Ocean Energy
Management, Regulation, and Enforcement

Forensic Examination of Deepwater Horizon Blowout Preventer

Volume I Final Report MANAGING RISK

(e) (f)
Figure 66 Photographs of 39-E

1-B-1-E was characterized by erosion that removed a portion of the drill pipe wall. There
was an area of approximately 30% of the circumference (Figure 65 (a)) that exhibited
only minor signs of erosion. This area was a fracture surface with a 45 degree shear angle
(Figure 65 (c) and (d)). This is typical of a tensile failure of a high strength steel.

Figure 66 shows photographs of 39-E. The pipe end was characterized by deformation
and erosion that had a regular spacing of 1 to 1.5 inches. The end of the pipe was curled
inwards (Figure 66 (a), (b), and (c)). Figure 66 (c) shows the curled end as viewed from
the inside of the pipe. The erosion pattern was along the entire length of the curled ends,

EPg30842
20 March 2011 104
Case 2:10-md-02179-CJB-DPC Document 1925-8 Filed 04/12/11 Page 25 of 25

DET NORSKE VERITAS

United States Department of the Interior, Bureau of Ocean Energy
Management, Regulation, and Enforcement

Forensic Examination of Deepwater Horizon Blowout Preventer

Volume I Final Report MANAGING RISK

indicating that the erosion most likely occurred prior to the deformation. There were
portions of the pipe wall that were missing. The flat portion of the end surface opposite of
the ruler in Figure 66 (f) was presumed to have been broken off during the deformation
event that caused the end to curl inward.

Figure 67 shows ]-B-1-E and 39-E with common features noted, namely a flat area on
both surfaces and adjacent erosion feature (groove). Figure 68 shows the laser scan for 1-
B-1-E and 39-E with common features aligned. The other and more compelling evidence
for these drill pipe ends being matching ends is the overall length between the tool joint
in 1-B-1 and the tool joint in 1-A-1. Using drill pipe segment 39 as the missing piece
between the two (see Figure 55 (a)), this length is measured as 45.68 feet. This is in good
agreement with the length of a joint of drill pipe. This length was determined with
features like the curted-in ends of 39-E accounted for in the measurement. In addition, the
top portion of 1-B-1 (above the tool joint), segments 39 and 1-A-1 were internally coated.
The other recovered drill pipe segments were not internally coated.

Figure 67 Photograph showing 1-B-1-E and 39-E

1-B-1-E and 39-E exhibited erosion features with regular spacing of 1 to 1.5 inches. This
corresponded to the spacing of the element segment ends (fingers) in the UA element as
shown in Figure 69. The erosion on 1-B-1-E and 39-E was due to their position at the top
end of the UA element. Based on the above discussion, there is a high level of confidence
that 1-B-1-E and 39-E were matching ends.

Erosion that occurred prior to tensile failure likely decreased the tensile strength of the
drill pipe at this location. 1-B-1-E is postulated to have remained in the UA element
while drill pipe segment 39 was free to move out of the primary flow path following
tensile failure. Based on the above discussion, the majority of the erosion on 39-E is
believed to have occurred prior to tensile failure of the drill pipe.

EPOSO842
20) March 201] 105
